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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

Hawthorne Industrial Products, Inc.                         No.: 2:22-cv-02724-ILRL-JVM

       v.

Hanwin Shipping Limited et al.

             RESTRICTED APPEARANCE OF HANWIN SHIPPING LIMITED

       NOW INTO COURT, through undersigned counsel, comes defendant, Hanwin Shipping

Limited (“Hanwin”), and makes this restricted appearance according to Supplemental Admiralty

Rule E(8) for the purpose of defending against plaintiff’s claims and Supplemental Rule B

attachment or garnishment in this action.

       Hanwin claims an interest in the property that has been (or will be) attached or garnished

according to the Court’s Order for issuance of a writ of maritime attachment and Garnishment

(doc. 6 filed Aug. 19, 2022). Hanwin specially appears under Rule E(8) to request a prompt

hearing at which plaintiff Hawthorne Industrial Products, Inc. will be required to show why the

attachment or garnishment should not be vacated or other relief granted. Hanwin will contact the

Court’s case manager to schedule an expeditious hearing of any objections which might be raised

by Hanwin or any garnishee.

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                                     Certificate of Service

       I hereby certify that this document was served upon all counsel of record this 24th day of

August, 2022, via email and by operation of the Court’s CM/ECF system.

                                             s/ David B. Sharpe
                                             David B. Sharpe




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